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                               UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



RICHARD B. REILING, JR.,

                                                        Civil Action No.: 1:21-CV-10354-RGS
               Plaintiff,
   v.


MATRIX WARRANTY SOLUTIONS, INC.,

               Defendant.


                          NOTICE OF VOLUNTARY DISMISSAL
                        PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)



        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby dismisses this action with

prejudice and without costs to either party. The defendant has not served either an answer to the

complaint or a motion for summary judgment.

DATED: July 22, 2021                                  PASTOR LAW OFFICE, LLP


                                                      /s/ David Pastor____________
                                                      David Pastor (BBO#391000)
                                                      63 Atlantic Avenue, 3rd Floor
                                                      Boston, MA 02110
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                                 CERTIFICATE OF SERVICE


       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on July 22, 2021.



                                             /s/ David Pastor_________________
                                             David Pastor
